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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                         MATTHEW GRAVES,
                                   7                                                       Case No. 21-cv-03186-JCS
                                                        Plaintiff,
                                   8
                                                 v.                                        SECOND ORDER TO SHOW CAUSE
                                   9
                                         PATRICK COVELLO,
                                  10
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Petitioner Matthew Graves, who is represented by counsel, brings a petition seeking

                                  14   federal habeas relief from his state conviction in San Mateo County Superior Court, case 16-NF-

                                  15   011327-A (“the State Action”). On July 11, 2021, the Court issued an Order to Show Cause

                                  16   (“OSC”), finding that Petitioner’s claims were sufficient under 28 U.S.C. § 2254 to warrant a

                                  17   response. It therefore set a deadline of October 12, 2021 for the Respondent to file an answer or

                                  18   dispositive motion. Dkt. no. 7. Although a docket entry dated July 12, 2021 states that the OSC

                                  19   was served by email on the California Attorney General, the OSC was not, in fact, served on the

                                  20   California Attorney General but only on Petitioner’s attorney due to a clerical error. Because the

                                  21   matter was not served, no response to the OSC was filed by Respondents. Petitioner also did not

                                  22   file any further pleadings. Accordingly, for the reasons set forth in the OSC, the Court orders that

                                  23   Respondent shall file an answer or dispositive motion in response to the habeas petition no later

                                  24   than July 24, 2023.

                                  25           The clerk shall serve electronically (1) a copy of this order and the original OSC (dkt. no.

                                  26   7) and (2) a notice of assignment of prisoner case to a United States magistrate judge and

                                  27   accompanying magistrate judge jurisdiction consent or declination to consent form (requesting

                                  28   that respondent consent or decline to consent within 28 days of receipt of service) upon the
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                                   1   respondent and the respondent’s attorney, the Attorney General of the State of California, at the

                                   2   following email addresses: SFAWTParalegals@doj.ca.gov and docketingsfawt@doj.ca.gov. The

                                   3   petition and the exhibits thereto are available via the Electronic Case Filing System for the

                                   4   Northern District of California. The clerk shall serve by mail a copy of this order and the original

                                   5   OSC on petitioner.

                                   6          IT IS SO ORDERED.

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                                   8   Dated: May 24, 2023

                                   9                                                    ______________________________________
                                                                                        JOSEPH C. SPERO
                                  10                                                    United States Magistrate Judge
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Northern District of California
 United States District Court




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